     Case 16-01528-RG        Doc 95 Filed 01/26/22 Entered 01/27/22 00:14:55                      Desc Imaged
                                   Certificate of Notice Page 1 of 3
Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

In Re: Randall S D Jacobs and Jill W Jacobs
Debtor
                                                           Case No.: 10−46222−RG
                                                           Chapter 13
Randall S D Jacobs
Plaintiff

v.

NATIONSTAR MORTGAGE, LLC
Defendant

Adv. Proc. No. 16−01528−RG                                 Judge: Rosemary Gambardella




                                     NOTICE OF JUDGMENT OR ORDER
                                       Pursuant to Fed. R. Bankr. P. 9022
      Please be advised that on January 24, 2022, the court entered the following judgment or order on the court's
docket in the above−captioned case:

Document Number: 94 − 1, 54
Scheduling Order (related document:1 Adversary case 16−01528. Complaint by Randall S D Jacobs, Jill W Jacobs
against NATIONSTAR MORTGAGE, LLC. Fee Amount $ 350. (02 (Other (e.g. other actions that would have been
brought in state court if unrelated to bankruptcy) (Attachments: # 1 Summons) filed by Plaintiff Randall S D Jacobs,
Plaintiff Jill W Jacobs, 54 Motion to Dismiss Adversary Proceeding Filed by NATIONSTAR MORTGAGE, LLC.).
Service of notice of the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See BNC
Certificate of Notice. Signed on 1/24/2022. (car)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: January 24, 2022
JAN: car

                                                           Jeanne Naughton
                                                           Clerk
       Case 16-01528-RG                     Doc 95 Filed 01/26/22 Entered 01/27/22 00:14:55                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
Jacobs,
       Plaintiff                                                                                                       Adv. Proc. No. 16-01528-RG
NATIONSTAR MORTGAGE, LLC,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jan 24, 2022                                               Form ID: orderntc                                                          Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 26, 2022:
Recip ID                 Recipient Name and Address
cr                     + BSI Financial Services, Stern, Lavinthal & Frankenberg, LLC, 105 Eisenhower Parkway, Suite 302, Roseland, NJ 07068-1640
md                     + Harry Gutfleish, Three University Plaza, Suite 410, Hackensack, NJ 07601-6222
pla                    + Jill W Jacobs, 5 Hampton Court, Caldwell, NJ 07006-4701

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
pla                    + Email/Text: rsdjacobs@chapter11esq.com
                                                                                        Jan 24 2022 20:30:00      Randall S D Jacobs, 5 Hampton Court, Caldwell,
                                                                                                                  NJ 07006-4701

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 26, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 24, 2022 at the address(es) listed
below:
Name                               Email Address
Adam Jason Friedman
                                   on behalf of Defendant BSI Financial Services bankruptcy@friedmanvartolo.com

Charles H. Jeanfreau
                                   on behalf of Defendant NATIONSTAR MORTGAGE LLC charles.jeanfreau@mccalla.com, BNCmail@w-legal.com
       Case 16-01528-RG           Doc 95 Filed 01/26/22 Entered 01/27/22 00:14:55                       Desc Imaged
                                        Certificate of Notice Page 3 of 3
District/off: 0312-2                                        User: admin                                      Page 2 of 2
Date Rcvd: Jan 24, 2022                                     Form ID: orderntc                               Total Noticed: 4
Harry M. Gutfleish
                          on behalf of Mediator Harry Gutfleish hgutfleish@goldmandavis.com

Jeanette F. Frankenberg
                          on behalf of Defendant BSI Financial Services cmecf@sternlav.com

Jeanette F. Frankenberg
                          on behalf of Creditor BSI Financial Services cmecf@sternlav.com

John P. Fazzio
                          on behalf of Plaintiff Randall S D Jacobs jfazzio@fazziolaw.com

John P. Fazzio
                          on behalf of Plaintiff Jill W Jacobs jfazzio@fazziolaw.com

Jonathan C. Schwalb
                          on behalf of Creditor BSI Financial Services bankruptcy@friedmanvartolo.com

Maria Cozzini
                          on behalf of Defendant BSI Financial Services mcozzini@sternlav.com

Maria Cozzini
                          on behalf of Creditor BSI Financial Services mcozzini@sternlav.com


TOTAL: 10
